         8:03-cr-00446-RGK-CRZ                      Doc # 133     Filed: 12/08/10        Page 1 of 2 - Page ID # 612
AO 472 (Rev. 09/08) Detention Order Pending Trial


                                     UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF NEBRASKA

                  United States of America                           )
                             v.                                      )
                                                                     )      Case No.    8:03CR446
              SINNDY DEIVY PANDURO                                   )
                           Defendant                                 )

                                              DETENTION ORDER PENDING TRIAL

         After conducting a detention hearing under the Bail Reform Act, 18 U.S.C. § 3142(f), I conclude that these facts
require that the defendant be detained pending trial.
                                             Part I—Findings of Fact
G (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has previously been convicted
         of     G a federal offense         G            a state or local offense that would have been a federal offense if federal
              jurisdiction had existed - that is
               G a crime of violence as defined in 18 U.S.C. § 3156(a)(4)or an offense listed in 18 U.S.C. § 2332b(g)(5)
                 for which the prison term is 10 years or more.

               G an offense for which the maximum sentence is death or life imprisonment.
               G an offense for which a maximum prison term of ten years or more is prescribed in
                                                                                                                  .*
               G a felony committed after the defendant had been convicted of two or more prior federal offenses
                 described in 18 U.S.C. § 3142(f)(1)(A)-(C), or comparable state or local offenses:

               G any felony that is not a crime of violence but involves:
                   G a minor victim
                   G the possession or use of a firearm or destructive device or any other dangerous weapon
                   G a failure to register under 18 U.S.C. § 2250
G (2)         The offense described in finding (1) was committed while the defendant was on release pending trial for a
              federal, state release or local offense.

G (3)         A period of less than five years has elapsed since the        G date of conviction     G the defendant’s release
              from prison for the offense described in finding (1).
G (4)         Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition will reasonably assure the
              safety of another person or the community. I further find that the defendant has not rebutted this presumption.

                                                        Alternative Findings (A)
G (1)         There is probable cause to believe that the defendant has committed an offense
               G for which a maximum prison term of ten years or more is prescribed in                                    .
               G under 18 U.S.C. § 924(c).
              The defendant has not rebutted the presumption established by finding 1 that no condition will reasonably assure
G (2)
              the defendant’s appearance and the safety of the community.

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                                                        Alternative Findings (B)
X (1)        There is a serious risk that the defendant will not appear.
G (2)        There is a serious risk that the defendant will endanger the safety of another person or the community.


                                    Part II— Statement of the Reasons for Detention
         I find that the testimony and information submitted at the detention hearing establishes by         X clear and
convincing evidence           G a preponderance of the evidence that
that the defendant is a flight risk. He was on pretrial release, fled, and his whereabouts were unknown for 6 years.




                                               Part III—Directions Regarding Detention
         The defendant is committed to the custody of the Attorney General or a designated representative for confinement
in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or held in custody
pending appeal. The defendant must be afforded a reasonable opportunity to consult privately with defense counsel. On
order of United States Court or on request of an attorney for the Government, the person in charge of the corrections facility
must deliver the defendant to the United States marshal for a court appearance.


Date:                      12/8/2010                                               s/Cheryl R. Zwart
                                                                            United States Magistrate Judge




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